                    Case 3:24-cv-07474-SK                  Document 6-3           Filed 12/30/24           Page 1 of 1


AO 9l (Rev. l'li I l) Criminal Complaint



                                       Uxrrpn Sreres Dtsrrucr CoURT
                                                                   for the
                                                      Northern District of California

                   United States of America

                       City of Antioch                                       Case No.
                Brandon Kline SBN 315431
               Jessica Lomakin SBN 284640
          lrene lslas, Elle Chaseton, Derek Traya
          David O. L\ringstol, Michael Casten
                         Edwbrd G. Weil
                             Defendanr(s)


                                                    CRIMINAL COMPLAINT
          I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                        10t1812024                 in the county of           Contra   Costa      in the
      Northern District of                    Contra Costa        , the defendant(s) violated

              Code Section                                                      Offense Descriptiott
(June 25, 1948, ch. 645,62 Stat.            684 Violation of Constitutional Rights, No jurisdiction over Marc Lucas, Injuries to
                                                  the plantiff




           This criminal complaint is based on these facts:
(June25, 1948, ch.645,62 Stat.684 Pub. L. 103-322, TitleXXX|ll, sec330016 (1XG) Sept 13, 1994,'108 Srar.2147)
1B U.S.C 2333 Civil Remedies. Violation of Constitutional Rights. No Consent Given, No authority or Jurisdiction
Established by the court.




           D Continued on the attached sheet.

                                                                                                8/:
                                                                                                Comp lainant's s ignalure

                                                                                                       Marc Lucas
                                                                                                 Printed name and title

Sworn to before me and signed in my presence.



Date:
                                                                                                   Judge's signalure


City and state:
                                                                                                 Printed nante and title
